IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

ESTATE OF GABRIEL MIRANDA, JR.,

Plaintiff,
v. CIVIL ACTION NO. 7:18-cv-0348
HARLINGEN CONSOLIDATED
INDEPENDENT SCHOOL DISTRICT,
ARTURO J. CAVAZOS,
EDINBURG POLICE DEPARTMENT,
DAVID EDWARD WHITE,
THE CITY OF EDINBURGE, TEXAS,
RICHARD H. GARCIA,
RICHARDD M. HINOJOSA,
THE COUNTY OF HIDALGO,
RAMON GARCIA,
NORMA JEAN FARLEY, and
VALLEY FORENSICS, P.L.L.C.,

Defendants.

CGR CGD CGR OD CGR OG CER 86> CGP UGD UG 0G 06D 6D GOP con GO 60D 6on

DEFENDANTS, NORMA JEAN FARLEY, M.D. AND VALLEY FORENSICS, P.L.L.C.’S
RULE 12(b)(1) AND 12(b)(6) MOTIONS TO DISMISS AND BRIEF IN SUPPORT

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW Defendants, Norma Jean Farley, M.D. (“Dr. Farley”) and Valley
Forensics, P.L.L.C. (“Valley Forensics”) (collectively “Defendants”) who file this Motion to
Dismiss based on Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) and Brief in Support.
In support of their Motion, Defendants respectfully show the Court the following:

INTRODUCTION

On or about November 12, 2018, Plaintiff filed this action under 42 U.S.C. § 1983
(“section 1983”), alleging a violation of the United States Constitution. (See Plaintiff's Original
Complaint, p.2). On or about November 26, 2018, Plaintiff served Dr. Farley and Valley

Forensics with Plaintiff's Complaint. (See Summons in Court’s file; marked as delivered on

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(8)(6) MOTION To DISMISS PAGE 1
11/26/18 at 2:48). Accordingly, pursuant to Federal Rule of Civil Procedure 12(a)C)AYQ),
Defendants’ answers are due within 21 days after being served with the summons and complaint,
which would make the deadline December 17, 2018. Pursuant to Federal Rule of Civil
Procedure 12(b), a motion asserting any defenses under Rule 12(b) must be made before
pleading if a responsive pleading is allowed. Thus, this Motion to Dismiss under Rules 12(b)(1)
and 12(b){6) is timely. And, pursuant to Rule 12(a)(4), Defendants’ responsive pleadings are not
due until 14 days after the Court denies the Motion or postpones its disposition until trial.

As shown herein, the Court should dismiss this action for lack of subject matter
jurisdiction or, alternatively, for failure to state a claim upon which relief may be granted.
Below, Defendants assert multiple, independent grounds as to why the Court does not have
subject matter jurisdiction and as to why Plaintiff did not assert a claim upon which relief may be
granted.

RULE 12(B)(1) MOTION TO DISMISS

I. Pursuant to Federal Rule of Civil Procedure 12(b)(1), the Court should Dismiss
Plaintiff’s Complaint for Lack of Subject Matter Jurisdiction

A. Rule 12(b}(1) Generally

Where subject matter jurisdiction is challenged pursuant to Rule 12(b)(1), the plaintiff
has the burden of proving jurisdiction in order to survive the motion. Michigan S. R.R. v. Branch
St. Joseph Cty. Rail Users Ass’n, 287 F.3d 568, 573 (6" Cir. 2002).

Here, Defendants contend that the Court lacks subject matter jurisdiction because the
Estate of Gabriel Miranda, Jr. (the “Estate”) does not have standing to complain of the alleged
acts. See Steel Co, v, Citizens for a Better Environment, 523 U.S. 83 (1998); Lujan v. Defenders

of Wildlife, 504 U.S. 555 (1992),

 

DEFENDANTS’ RULE 12(8)(1) AND RULE 12(8)(6) MOTION To DISMISS PAGE2
B. The Court Applies State Substantive Law on Standing in Civil Rights Cases

Standing under section 1983 is guided by 42 U.S.C. § 1988, which provides that state
common law is used to fill the gaps in administration of civil rights suits. 42 U.S.C. § 1988(a).
‘This includes matters of standing, Pluet v. Frasier, 355 F.3d 381, 383 (5" Cir. 2004).

Under Texas common law, a standing inquiry includes three elements: (1) the plaintiff
must be personally injured, ic., must plead facts demonstrating that he, himself, rather than a
third party or the public at large, suffered an injury that was concrete and particularized, actual or
imminent, not hypothetical; (2) the plaintiff's alleged injury must be fairly traceable to the
defendant's conduct; and (3) plaintiffs alleged injury must be likely to be redressed by the
requested relief, and the plaintiff must demonstrate standing separately for each form of relief
sought. Heckman y. Williamson Cty., 369 S.W.3d 137, 155 (Tex. 2012).

For the reasons shown below, each of which is an independent ground for dismissal, the
Estate does not have standing to file this section 1983 action,

Cc, The Estate Does Not Have Standing
1. The Estate Does Not Have Standing to Sue

The Estate filed a direct claim and did not file through a representative. That is improper
because an “estate” is not a legal entity and cannot sue or be sued as such. Walzem Development
Co., Inc. v. Gerfers, 487 5.W.2d 219, 223 (Tex. Civ. App.-San Antonio 1972, writ ref’d D.1.e.);
see also Janak v, Security Lumber Co., Inc., 513 8.W.2d 300, 301 (Tex. Civ. App.—Houston [is
Dist.] 1974, no writ).

An estate is simply the decedent’s property. TEX. ESTATES CODE § 22.012.

Thus, the Estate, acting alone, does not have standing to file this Federal Complaint.

Normally, the Court could treat such a defect as one of a failure of capacity, rather than

one of standing, and allow Gabriel Miranda, Jr.’s parents to enter an appearance to assert claims

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE3
on behalf of the Estate. See, e.g., Valle v. City of Houston, 613 F.3d 536, 541 (5 Cir. 2010);
Martone v. Livingston, 2015 WL 9259089 (S.D. Tex. 2015); Neal v. City of Hempstead, Texas,
2013 W.L. 105036 (S.D. Tex. 2013) (“Under the Texas Survival Statute, heirs, legal
representatives, and the estate of the injured person may bring a survival action ... where the
individual bringing suit on behalf of the estate is not the estate’s representative, the question is
one of capacity; the estate plainly has standing.”).

However, for the reasons shown below, such a gesture would be futile. The Estate does
not have standing to recover damages even if it appears through a representative.

2. Even if the Estate Sues Through a Representative, it Does Not Have
Standing to Recover Damages

a. The Estate Does Not Have Standing Under the Wrongful
Death Act or the Survival Statute

As shown above, the federal courts look to state substantive law to fill in the gaps where
section 1983 is silent. 42 U.S.C. § 1988(a). This includes standing. Pluet, 355 F.3d at 383-84.

Therefore, in cases involving the death of the aggrieved claimant, the party filing suit
must have standing under the state wrongful death or survival statutes to bring a claim under
section 1983. Jd, at 383-84; see also Rhyne v. Henderson County, 973 F.2d 386, 390-91 (5" Cir.
1992) (concluding that standing under Texas wrongful death and survival statutes is incorporated
into the Federal Civil Rights Statutes).

There is no dispute that the Estate cannot recover under the Texas Wrongful Death Act.
Wrongful death benefits do not belong to the decedent’s estate. TEX. Civ. PRAC. & REM. CODE §
71.004(a); Brown v. Edwards Transfer Co., Inc., 764 S.W.2d 220, 223 (Tex. 1988).

As for the Texas Survival Act, damages recoverable in a survival action are those which
the decedent himself sustained while he was alive, so a survival action does belong to the estate.

TEX. CIV. PRAC, & REM. CODE § 71.021(b); Russell v. Ingersoll-Rand Co., 841 8.W.2d 343 (Tex.

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To Dismiss PAGE 4
1992); Avila v. St. Luke’s Lutheran Hosp., 948 S.W.2d 841, 857 (Tex.App—San Antonio 1997,
writ denied).

In this case, however, the Estate has made clear that it does not seek damages sustained
while Gabriel Miranda, Jr. was alive. (See Complaint, pp. 1, 20-23, 27, 30, 32-34). Indeed, all
of Plaintiffs’ complaints concern alleged acts or omissions which occurred after Gabriel
Miranda, Jr.’s death. (éd.). Thus, the Estate does not seek damages which are recoverable under
the Texas Survival Statute.

With no standing to recover damages under the Wrongful Death Act, and no damages or
assertion of damages under the Survival Statute, the Estate has no means of recovering anything.
There is no “concrete and particularized, actual or imminent” injury, as required by the Texas
Supreme Court in Heckman v. Williamson Cty. Heckman, 369 8.W.3d at 155

Moreover, no pleading amendment can allege facts which bring any asserted damages
within the Texas Survival Statute, at least with respect to Dr. Farley and Valley Forensics. The
Estate contends that Dr. Farley conducted the autopsy of Gabriel Miranda, Jr. through Valley
Forensics. (See Complaint, p. 18), The Estate’s complaint about Dr. Farley and Valley
Forensics is that Dr. Farley improperly concluded that Gabriel Miranda, Jr.’s death was a suicide.
(id., pp. 22-23, 26, 31}. Thus, neither Dr. Farley nor Valley Forensics could possibly be
responsible for any damages which allegedly occurred prior to Gabriel Miranda, Jr.’s death.

As a result, because Texas state law provides no mechanism through which a deceased
can recover post-mortem damages which allegedly occurred to the body of the deceased, then
Texas law does not provide a means for the Estate to obtain damages, even if the Complaint is
amended to add a representative for the Estate. This prevents the Estate from recovering

damages under section 1983. As a result, the Estate, or the Estate’s representative if one appears,

 

DEFENDANTS’ RULE 12(8)(1) AND RULE 12(B)(6) MOTION To DisMISss PAGES
cannot satisfy the first requirement for standing under Heckman y. Williamson Cty.: the plaintiff
must be personally injured, i.c., must plead facts demonstrating that he, himself, rather than a
third party or the public at large, suffered an injury that was concrete and particularized, actual or
imminent, not hypothetical. Heckman, 369 S.W.3d at 155.

Thus, the Estate has no standing, even if a representative is allowed to appear, because
there is no “concrete and particularized, actual or imminent” injury.

In this case, the Estate of Gabriel Miranda, Jr. has an additional insurmountable standing
problem, as shown below.

b. Deceased Persons Have No Civil Rights

Unlike the typical section 1983 claim involving a person whose death was allegedly
caused by the section 1983 violation, in this case, Gabriel Miranda, Jr. was already dead when
his civil rights were allegedly violated. All of the alleged wrongful conduct occurred post-
mortem. Indeed, the very first paragraph of Plaintiffs Original Complaint makes this clear:

On November 14, 2016, Gabriel Miranda, Jr., age 13, fell, or was pushed, out of

the emergency door exit of a Harlingen CISD school bus going approximately 65

miles per hour over poor surface conditions, resulting in Little Gabriel's death.

Afier his death, the Defendants conspired to conclude that Little Gabriel's death

was a suicide (hereafter, the “Great Lie”). The Great Lie was based on

discriminatory acts and omissions of the Defendants based on gender and
ethnicity, This is a suit for damages to redress such discrimination.

(Plaintiff's Original Complaint, p.1)(emphasis in original).

Thus, Plaintiff does not assert that Defendants harmed Gabriel Miranda, Jr. before he
died, nor could Defendants Dr. Farley or Valley Forensics have possibly harmed him before he
died, because their involvement in the case is confined to the conducting of an autopsy and a
determination of the cause of death.

So, at issue is whether a deceased person has civil rights which can be violated. The

answer to that question is an unqualified “no.”

 

DEFENDANTS? RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 6
In Whitehurst v. Wright, 592 F.2d 834 (5" Cir. 1979), the Fifth Circuit considered a case
in which a man was fatally shot by a police officer. The facts of the case compelled the
conclusion that a gun was placed near the victim, after his death, to provide the police officer
with the excuse that he acted in self-defense. Jd. at 836. The deceased’s mother filed suit under
section 1983, claiming that the investigation was a cover-up to protect the police officer, which
the mother claimed violated her son’s civil rights. Zd. at 837.

The trial court concluded and the Fifth Circuit agreed, that the events occurring post-
mortem could not form a section 1983 or section 1985 civil rights violation. Jd. at 840. The
Fifth Circuit stated that “[a]fter death, one is no longer a person within our constitutional and
statutory framework, and has no rights of which he may be deprived.” Jd.

Other courts, also confronted with the issue of alleged post-mortem violations of a
person’s civil rights, have reached the same conclusion. See Silkwood v. Kerr-McGee Corp.,
637 F.2d 743, 749 (10th Cir. 1980) (“We agree with the Ninth Circuit that the civil rights of a
person cannot be violated once that person has died. It is clear then that the FBI agents could not
have violated the civil rights of Silkwood by cover-up actions taken after her death.”); Guyton v.
Phillips, 606 F.2d 248, 250 (9"" Cir. 1979), cert. denied, 445 U.S. 916 (1980) (“We find that the
Civil Rights Act, 42 U.S.C. §§1983 and 1985, does not provide a cause of action on behalf of a
deceased based upon alleged violation of the deceased's civil rights which occurred after his
death. A ‘deceased’ is not a ‘person’ for the purposes of 42 U.S.C. §§1983 and 1985, nor for the
constitutional rights which the Civil Rights Act serves to protect.”); Ravellette v. Smith, 300 F.2d
854, 857 (7th Cir. 1962) (“These cases are inapposite because they are concerned with a
violation of the rights of a living person. In the instant case, decedent was dead when the sample

was taken.”); Cook v. City of Dallas, No. 3:12-CV-03788-P, 2014 WL, 12820618, at *6 (N.D.

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(8)(6) MOTION To DISMISS PAGE7
Tex. Mar. 25, 2014) (granting a Rule 12(b)(6) motion to dismiss one of the section 1983 claims
because “the Complaint notes that, because police were not sent in response to the family’s 9-1-1
call on August 19, 2012, the family was forced to ‘enter a ctime scene and observe their loved
one dead, murdered in her own bathtub.’ Based on the allegations and claims against the other
defendants, the only reasonable inference is that Deanna was already deceased when her family
called 9-1-1.”); Helmer v. Middaugh, 191 F. Supp.2d 283, 285 (N.D.N.Y. 2002) (“As the
allegations concerning Lt. Lisi are limited to conduct occurring after the death of B. Helmer,
plaintiff's amended complaint does not allege a viable cause of action against him.”).

Thus, even if the Court allows a representative to enter the case and file suit on behalf of
the Estate, the Estate cannot recover for civil rights violations in this case because all of the
alleged violations occurred after Gabriel Miranda, Jr.’s death, and a deceased person has no civil
rights. As a result, for this second, independent reason, the Estate, or the Estate’s representative,
cannot satisfy the first element of standing under Heckman. Heckman, 369 S.W.3d at 155.

D. Alternatively, Dismissal Pursuant to Rule 12(b)(6) is Required

In the event the Court determines that it has subject matter jurisdiction and that these
matters are more appropriately brought under Rule 12(b)(6), then Defendants request that the
Court dismiss Plaintiff's Complaint on the grounds asserted above pursuant to Rule 12(b)(6).

RULE 12(B)(6) MOTION TO DISMISS

I. Plaintiff’s Complaint Should Be Dismissed Pursuant to Federal Rule of Civil
Procedure 12(b)(6) for Failure to State a Claim Upon Which Relief Can Be Granted

A. Rule 12(b)}(6) Generally

A motion to dismiss for failure to state a claim admits the facts alleged in the complaint
but challenges the plaintiff's right to any relief based on those facts. Crowe v. Henry, 43 F.3d

198, 203 (5" Cir, 1995).

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(8)(6) MOTION To DISMISS PAGES
“To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009) quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A
claim has facial plausibility when the plaintiff pleads factual content that allows the court to
draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft at
678. “The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more
than a sheer possibility that a defendant has acted unlawfully.” Jd. “Where a complaint pleads
facts that are merely consistent with a defendant's liability, it stops short of the line between
possibility and plausibility of entitlement to relief.” /d.

Although the court is required to accept all factual allegations as true, it is not required to
accept legal conclusions as true or to accept legal conclusions couched as factual allegations. Id.
Also, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory
statements, do not suffice.” Jd. Furthermore, “only a complaint that states a plausible claim for
relief survives a motion to dismiss.” Jd. at 679. Determining whether a complaint states a
plausible claim for relief is a context-specific task that requires the reviewing court to draw on its
judicial experience and common sense. Jd. But where the well-pleaded facts do not permit the
court to infer more than the mere possibility of misconduct, the complaint falls short of showing
that the pleader is entitled to relief. Jd.

The court does not need to provide a plaintiff with the opportunity to amend when an
amendment would be futile. Wigeins v. Louisiana State Univ.-Health Care Servs. Div., 710 F.
App’x 625, 628 (Sth Cir. 2017) (affirming dismissal of §1983 action pursuant Rule 12(b)(6)
without granting leave to amend); Marucci Sports, L.L.C. v, Nat'l Collegiate Athletic Ass'n, 751

F.3d 368, 379 (Sth Cir. 2014) (“Because two prior amendments were granted and allowing a

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(8)(6) MOTION To DISMISS PAGE 9
third would have been futile, we conclude that the district court did not abuse its discretion by
denying Marucci's motion to amend”).

The following are independent grounds upon which this Court may dismiss Plaintiffs
Complaint for failure to state a claim upon which relief may be granted.

B. Ground 1; A Deceased Person Has No Civil Rights

Defendants’ arguments and authorities in Section I.C.2.b of their Rule 12(b)(1) Motion to
Dismiss, as set forth above, are fully incorporated herein by reference as though fully set forth
herein.

As shown herein, neither the Estate nor someone acting on behalf of the Estate can
recover for alleged civil rights violations because all of the alleged violations occurred after
Miranda Jr.’s death, and a deceased person has no civil rights. As a result, Plaintiff failed to state
a claim upon which relief may be granted.

Furthermore, it would be futile to allow Plaintiff to amend because a deceased person has
no civil rights, and no amendment can change that fact. Wiggins, 710 F. App’x at 628; Marucci
Sports, 751 F.3d at 379,

On Ground Two: Plaintiff Cannot Assert Claims Under the Wrongful Death Act
or the Survival Statute

Defendants’ arguments and authorities in Section L.C.2.a of their Rule 12(b)(1) Motion to
Dismiss, as set forth above, are fully incorporated herein by reference as though fully set forth
herein,

Moreover, no pleading amendment can allege facts which bring any asserted damages
within the Texas Survival Statute, at least with respect to Dr. Farley and Valley Forensics. The
Estate contends that Dr. Farley conducted the autopsy of Miranda Jr. through Valley Forensics.

(See Complaint, p. 18). The Estate’s complaint about Dr. Farley and Valley Forensics is that Dr.

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 10
Farley concluded that Miranda Jr.’s death was a suicide. (id., pp. 22-23, 26, 31). Thus, neither
Dr. Farley nor Valley Forensics could possibly be responsible for any damages which allegedly
occurred prior to Miranda Jr.’s death.

As a result, because Texas state law provides no mechanism through which a deceased
can recover post-mortem damages which allegedly occurred to the body of the deceased, then
Texas law does not provide a means for the Estate to obtain damages, even if the Complaint is
amended to add a representative for the Estate. This prevents the Estate from recovering
damages under section 1983. As a result, the Estate, or the Estate’s representative if one appears,
has not stated a claim upon which relief may be granted, and no amendment can cure this defect.
As a result, the Court should dismiss this case under Rule 12(b)(6) without allowing Plaintiff an
opportunity to replead. Wiggins, 710 F. App'x at 628; Marucci Sports, 751 F.3d at 379.

D. Ground Three: Section 1983 Does Not Permit Recovery for Defamation

“Section 1983 does not create substantive rights; it merely serves as the procedural
device for enforcing substantive provisions of the Constitution and federal statutes.” Crumpton v.
Gates, 947 F.2d 1418, 1420 (9th Cir. 1991), citing Chapman v. Houston Welfare Rights Org.,
441 U.S, 600, 617 (1979) (stating “one cannot go into court and claim a ‘violation of § 1983’ —
for §1983 by itself does not protect anyone against anything”).

In this case, Plaintiff rejects Defendants’ suicide finding and essentially alleges the
existence of a massive conspiracy to hide Miranda Jr.’s “true” cause of death. As to Dr. Farley:
and Valley Forensics specifically, Plaintiff alleges the following (the following passages are
exact quotes from Plaintiff's Complaint):

[6l{e}]. Defendant Hidalgo County instructed its subcontracted pathologist,

Defendants Farley and VF, to conduct an autopsy ("Autopsy"). (Complaint, p.
18).

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 11
69, Although the Autopsy performed for Defendant Hidalgo County by
Defendants Farley and VF, and subsequently adopted by the other Defendants,
concluded that the "manner" of Little Gabriel's Death was suicide ("Autopsy
Conclusion"), the Autopsy Conclusion is nothing but an intentionally derived
sham, coordinated by the Defendants, (Complaint, p. 22).

[77(s)]. [I]n support of her Autopsy Conclusion, Defendants Farley and VF

replied: (paraphrasing) that it is common for young men [meaning Hispanic] from

the Valley to commit suicide, even without ever showing prior signs of

depression. (Complaint, p. 26).

Plaintiff also alleges that all of the Defendants, in general, announced the cause of
Miranda Jr.’s death without “the decency of personally informing any of the family of Plaintiff —
Little Gabriel that a cause of death had been decided upon.” (Complaint, p. 20, 66). Plaintiff
further alleges that there is an “apparently shared view of Defendants that it is common for
young men (meaning Hispanic) from the Valley to commit suicide, even without ever showing
prior signs of depression.” (/d., pp. 20-21, 467). And, Plaintiff alleges that the Estate is being
irreparably harmed by Defendants’ public and private announcements concerning, among other
things, the autopsy conclusion. (/d., p.23, $71).

Thus, all of Plaintiff's alleged civil rights violations concern Defendants’ speech: what
Dr. Farley and Valley Forensics said or wrote concerning Miranda Jr.’s death. As stated above,
section 1983 does not create substantive rights; it is only a procedural device for enforcing the
Constitution. Crumpton at 1420. Although Plaintiff does not specify what Constitutional or
federal right it had that was allegedly deprived, it is clear from the Complaint that the underlying
basis of Plaintiff's section 1983 claim is an alleged defamation. In other words, Plaintiff asserts
that Defendants violated the deceased’s civil rights by defaming him.

Plaintiff's effort to bootstrap a defamation claim into a civil rights violation is not

permissible. The United States Supreme Court has held that defamation cannot form the basis of

a civil rights violation under section 1983. Paul v. Davis, 424 U.S. 693, 712 (1976) (“petitioners'

 

DEFENDANTS’ RULE 12(8)(1) AND RULE 12(8)(6) MOTION To Dismiss PAGE 12
defamatory publications, however seriously they may have harmed respondent's reputation, did
not deprive him of any ‘liberty’ or ‘property’ interests protected by the Due Process Clause.”).
Paul held that defamation, standing alone, fails to state a claim under section 1983. Jd. at 694,
712. The Fifth Circuit follows Paul. See Thomas vy. Kippermann, 846 F.2d 1009, 1010 (Sth Cir.
1988) (“Such allegations merely implicate Thomas's reputation and are insufficient to establish a
cause of action under § 1983”); see also Cole v. Gray, 638 F.2d 804, 811 (Sth Cir. 1981)(“the
loss of a good name, as destroyed by defamation on the part of a public official, is not a ‘liberty
or property interest’ for which [the Civil Rights] statutes provide protection”).

Plaintiff's alleged civil rights violation is nothing more than alleged defamation, which is
not actionable under section 1983. Thus, the Court should dismiss Plaintiffs claim for failure to
state a claim upon which relief may be granted pursuant to Rule 12(b)(6). Moreover, any
amendment would be futile, so the Court should not request an amendment before dismissing
this case. Wiggins, 710 F. App'x at 628; Marucci Sports, 751 F.3d at 379.

E. Ground Four: Plaintiff Failed to State Any Elements of a Civil Rights
Violation

By the plain terms of section 1983, two allegations are required to state a cause of action:
(1) the plaintiff must allege that some person has deprived him of a federal right; and (2) the
plaintiff must allege that the person who has deprived him of that right acted under color of state
or territorial law. Gomez v. Toledo, 446 U.S. 635, 640 (1980).

The gist of Plaintiffs alleged civil rights violation is the following allegation:

[I]Jn support of her Autopsy Conclusion, Defendants Farley and VF replied:

(paraphrasing) that it is common for young men [meaning Hispanic] from the

Valley to commit suicide, even without ever showing prior signs of depression.

(Complaint, p. 26; {77(s)) (use of brackets and parentheses in original).

 

DEFENDANTS’ RULE 12(B){1) AND RULE 12(B)(6) MOTION TO DISMISS PAcE 13
For several independent reasons, this allegation wholly fails to assert a violation of
Miranda Jr.’s civil rights.

1. Plaintiff Does Not Plead that Defendants Said Anything About Miranda
Jr.’s Race or Ethnicity

At no point does Plaintiff assert that Dr. Farley or Valley Forensics actually stated that
Hispanics, or Hispanic young men, are prone to commit suicide. Instead, Plaintiff put
“Hispanic” in brackets and admits that it is paraphrasing what was actually said. (Complaint, p.
26; ¥77(s)). Indeed, by placing “Hispanic” in brackets, Plaintiff admits that “Hispanic” was not
said; instead, Plaintiff simply assumes that this is what Defendants meant. Pleading speculative
assumptions is not pleading “factual content,” and factual content is required to survive a
challenge ‘under Rule 12(b)(6). Asheroft, 556 U.S. at 678. As stated in Ashcroft, “[t]he
plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully.” /d. By doing no more than assuming that Dr.
Farley and Valley Forensics somehow implied “Hispanic” in a statement which Plaintiff admits
was only a paraphrase, Plaintiff has offered nothing more than a “sheer possibility that a
defendant has acted unlawfully.” Jd. This is not enough to survive Rule 12(b){6).

In Coyne v. City of Somerville, 972 F.2d 440, 442-45 (1* Cir, 1992), the First Circuit
affirmed the dismissal of a section 1983 action under Rule 12(b)(6) because the plaintiff failed to
allege specific instances of unlawful discrimination. Plaintiff here has also failed to allege
specific instances of unlawful discrimination. As a result, dismissal under Rule 12(b)(6) is
warranted, and any amendment would be futile. Wiggins, 710 F. App'x at 628; Marucci Sports,

751 F.3d at 379.

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 14
2. Plaintiff Does Not State What Right, Privilege, or Immunity was
Deprived

As stated above, one of the elements of a claim under section 1983 is the deprivation of a
federal right. Gomez v. Toledo, 446 U.S. at 640. Here, Plaintiff fails to state what right,
privilege, or immunity it had that was deprived. The Estate is nothing more than the decedent’s
property. TEX. ESTATES CODE § 22.012. And, as further shown above and incorporated here, a
deceased person has no civil rights. Therefore, Plaintiff has failed to state what federal right,
privilege, or immunity it had that was deprived from it by Dr. Farley or Valley Forensics.
Accordingly, this case should be dismissed under Rule 12(b)(6) for failure to state a claim for
which relief may be granted. Because a deceased person has no civil rights, an amendment
would be futile. The Court should dismiss without requesting or allowing an amendment to
Plaintiff's Complaint. Wiggins, 710 F. App'x at 628; Marucci Sports, 751 F.3d at 379.

3. There is No Allegation that Miranda Jr.’s Race or Ethnicity Played any
Role in the Autopsy Conclusion or the Investigation into his Death

As stated above, Plaintiff appears to allege that Dr. Farley and Valley Forensics implied
that young Hispanic males in the Rio Grande Valley have a tendency to commit suicide.
(Complaint, p. 26; {77(s)). However, Plaintiff wholly fails to allege that Miranda Jr,’s race or
ethnicity played any role whatsoever in the autopsy conclusion or the investigation into Miranda
Jr.’s death. Because the gist of Plaintiff's complaint is that all of the Defendants conspired to
cover-up the “true” cause of death and that the suicide conclusion was part of the alleged cover-
up, then at a minimum, Plaintiff was required to allege that Miranda Jr.’s race or ethnicity was a
determining factor in either the investigation, the autopsy conclusion, or both, Yet, Plaintiff
makes no such allegation.

Consequently, even assuming the cover-up allegation is true, Miranda Jr.’s race or

ethnicity nevertheless played no role whatsoever in the alleged conspiracy. Because Miranda

 

DEFENDANTS’ RULE 12(B)(1) AND RULE £2(8)(6) MOTION To DISMISS PAGE 15
Ji.’s race or ethnicity was not a factor in the alleged conspiracy, then there is no civil rights
violation, and Plaintiff's claim under section 1983 must be dismissed pursuant to Rule 12(b)(6).
And, because a deceased person has no civil rights, an amendment would be futile. The Court
should dismiss without requesting or allowing an amendment to Plaintiffs Complaint. Wiggins,
710 F. App'x at 628; Marucci Sports, 751 F.3d at 379.

F. Ground Five: Defendants Are Entitled To Dismissal Based on Qualified
Immunity

Alternatively, Plaintiff's claims against Dr. Farley and Valley Forensics should be
dismissed because they are entitled to qualified immunity.

Qualified immunity protects government officials from liability for civil damages insofar
as their conduct does not violate clearly established statutory or constitutional rights of which a
reasonable person would have known. Club Retro, L.L.C. v. Hilton, 568 F.3d 181, 194 (5th Cir.
2009); see also White v. Pauly, 137 8. Ct. 548, 551, 196 L. Ed. 2d 463 (2017). This standard
“gives ample room for mistaken judgments! by protecting ‘all but the plainly incompetent or
those who knowingly violate the law,’” Clancey v. City of Coll. Station, Texas, No. 4:09-CV-
1480, 2010 WL 1268083, at *3 (S.D. Tex. Mar. 25, 2010) (quoting DePree v. Saunders, 588
F.3d 282, 287 (Sth Cir. 2009)).

In assessing qualified immunity, courts engage in a two-step inquiry: (1) under existing
law, does the plaintiff allege a violation of an actual, clearly established constitutional or federal
statutory right?; and (2) if so, was the defendant's conduct objectively unreasonable in the light
of clearly established law at the time of that conduct? Hart v. Texas Dept. of Criminal Justice,
106 Fed. App’x. 244, 248 (5th Cir. 2004).

Plaintiff has alleged that “Defendant Hidalgo County instructed its subcontracted

pathologist, Defendants Farley and [Valley Forensics], to conduct an autopsy,” and that the

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6} MOTION To DIsMIss PAGE 16
“Autopsy [was] performed for Defendant Hidalgo County by Defendants Farley and [Valley
Forensics].” (Plaintiff's Original Complaint, pp.18, 22). Without conceding that Dr. Farley or
Valley Forensics are employees, agents, etc. of Hidalgo County, or that Dr. Farley or Valley
Forensics are state actors/acting under the color of state law, even if they are, they are entitled to
qualified immunity.

1, Plaintiff Cannot Establish the Violation of a Clearly Established
Constitutional Right

Plaintiff cannot establish the violation of an actual, clearly established constitutional or
federal statutory right. Plaintiff vaguely alleges violations of due process and equal protection
rights, (Plaintiffs Original Complaint, p. 33). But, as explained in section 1C.2.b of the
12(6)(1) motion and section II.B above, deceased persons and their estate have no civil rights.
Thus, Plaintiff cannot establish that Dr. Farley or Valley Forensics violated an actual, clearly
established constitutional right. Dr. Farley and Valley Forensics are entitled to qualified
immunity.

2. Plaintiff Cannot Establish that Defendants’ Conduct Was Objectively
Unreasonable

Plaintiff cannot establish that the defendants’ conduct was objectively unreasonable.
“[R]easonableness .,. is assessed in light of the legal rules clearly established at the time”of the
incident in issue.” Spann v. Rainey, 987 F.2d 1110, 1114 (Sth Cir. 1993).

The general “standard of care for a physician is to undertake a mode or form of treatment
which a reasonable and prudent member of the medical professional would undertake under the
same or similar circumstances.” LeNotre v. Cohen, 979 s.w.2d 723, 727 (Tex. App.—Houston
[14th Dist.] 1998, pet. denied) (citing Hood v. Phillips, 554 8.W.2d 160, 165 (Tex. 1977)), While
failure to meet a standard of care can subject a physician to liability under a negligence claim, it

cannot subject a physician to personal liability under a civil rights claim. County of Sacramento

 

DEFENDANTS’ RULE [2(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 17
v. Lewis, 523 U.S, 833, 849, 118 8. Ct. 1708, 1718, 140 L. Ed. 2d 1043 (1998) (“[Liability for
negligently inflicted harm is categorically beneath the threshold of constitutional due process.”).

Again, Plaintiff generally asserts that Dr. Farley’s/Valley Forensic’s autopsy conclusion
was a sham. (Plaintiff's Original Complaint, p. 22). But, Plaintiff has alleged no specific facts
to establish that Dr. Farley’s/Valley Forensic’s performance of the autopsy or the conclusions
reached were objectively unreasonable. Even if their autopsy conclusions were incorrect, that is
not sufficient to establish violation of constitutional rights. DePree, 588 F.3d at 287; see Lewis,
523 U.S. at 849.

Dr. Farley and Valley Forensics are entitled to qualified immunity. Plaintiff’s claims
should be dismissed, Furthermore, the Court should dismiss without requesting or allowing an
amendment to Plaintiff's Complaint since an amendment would be futile. Wiggins, 710 F. App'x
at 628; Marucci.Sports, 751 F.3d at 379.

CONCLUSION AND PRAYER FOR RELIEF

As shown herein, Defendants established that the Estate has no standing to sue.
Moreover, Defendants set forth two independent grounds which show that even if a
representative appears to assert claims on behalf of the Estate, the Estate has no standing to sue
because:

1) The Estate does not have standing under the Wrongful Death Act or the Survival
Statute; and

2) Deceased persons have no civil rights.

As further shown herein, Defendants have set forth several independent grounds which
compel the Court to dismiss Plaintiffs Complaint for failure to state a claim upon which relief

may be granted, pursuant to Federal Rule of Civil Procedure 12(b)(6). Those grounds are:

 

DEFENDANTS’ RULE 12(8)(1} AND RULE 12(8)(6) MOTION To DISMISS PAGE 18
1)
2)

3)

4)

5)

A deceased person has no civil rights;

Plaintiff, an Estate, cannot assert claims under the Wrongful Death Act or the
Survival Statute;

Section 1983 does not permit recovery for defamation;

Plaintiff failed to state or to sufficiently allege any elements of a civil rights
violation, and this failure manifested in three particulars, each of which is
sufficient, standing alone, to dismiss Plaintiff's Complaint:

a) Plaintiff does not plead that Defendants said anything about Miranda Jr.’s
race or ethnicity;

b) Plaintiff does not state what right, privilege, or immunity it had that was
deprived; and
c) There is no allegation that Miranda Jr.’s race or ethnicity played any role

in the autopsy conclusion or the investigation into his death; and

Defendants have qualified immunity.

Any one of these grounds is a sufficient basis for the Court to dismiss Plaintiff's

Complaint without providing Plaintiff with an opportunity to amend, because filing an

amendment would be futile.

WHEREFORE, PREMISES CONSIDERED, Defendants Norma Jean Farley, M.D,

and Valley Forensics, P.L.L.C. pray that this Court grant their Rule 12(b)(1) Motion and dismiss

this case for lack of subject matter jurisdiction. Alternatively, Defendants pray that the Court

dismiss this case for failure to state a claim upon which relief may be granted, pursuant to FED.

R. Civ. P. 12(b)(6). Defendants also request all such other and further relief to which they may

be justly entitled.

 

DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 19
Respectfully submitted,
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DEFENDANTS’ RULE 12(8)(1) AND RULE 12(B)(6) MOTION To DISMISS PAGE 20
CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing has been served on counsel
for Plaintiffs on this the 14" day of December, 2018.

 

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DEFENDANTS’ RULE 12(B)(1) AND RULE 12(B)(6) MOTION To DisMIss PAGE 21
